Case 2:05-cv-04182-SRD-JCW Document 9337-3 Filed 12/04/07 Page 1 of 2

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
IN RE: KATRINA CANAL BREACHES * CIVIL ACTION
LITIGATION * 05-4182
* MAGISTRATE 2
* SECTION “K”
*
PERTAINS TO: 07-4944 *

RRR REAR AEE REE AE ERR

NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing on defendant, The Southeast Louisiana
Flood Protection Authority East’s Motion to Dismiss is hereby set on the 26" day of
December, 2007 at 9:30 a.m.
Respectfully submitted,

DUPLASS, ZWAIN, BOURGEOIS,
MORTON, PFISTER & WEINSTOCK

s/Jennifer M. Morris

LAWRENCE J. DUPLASS #5199

ANDREW D. WEINSTOCK #18495

JENNIFER M. MORRIS #29936

3838 North Causeway Boulevard, Suite 2900
Metairie, Louisiana 70002

Telephone: (504) 832-3700

Facsimile: (504) 837-3119

Counsel for Defendant, Board of Commissioners,
The Southeast Louisiana Flood Protection
Authority East

Case 2:05-cv-04182-SRD-JCW Document 9337-3 Filed 12/04/07 Page 2 of 2

CERTIFICATE OF SERVICE

I hereby certify that on the 4th day of December, 2007, a copy of the foregoing
was filed electronically with the Clerk of Court using the CM/ECF system. Notice of this
filing will be sent to counsel of record by operation of the court’s electronic filing system.

s/ Jennifer M. Morris

JENNIFER M. MORRIS
